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 1 Joseph H. Harrington
   Acting United States Attorney
 2 Eastern District of Washington
   Tyler H.L. Tornabene
 3 Daniel Hugo Fruchter
   Assistant United States Attorneys
 4 Post Office Box 1494
   Spokane, WA 99210-1494
 5 Telephone: (509) 353-2767
 6
 7
 8                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WASHINGTON
 9
10 In Re The Matter of:
11                                                     NO. 1:21-cv-3048
      United States’ Petition for Summary
12    Enforcement and Costs Re: Civil                  DECLARATION
13    Investigative Demand No. EDWA 21-002             OF TYLER H.L. TORNABENE
                                                       IN SUPPORT OF
14                                                     UNITED STATES’ PETITION
15                                                     FOR SUMMARY
                                                       ENFORCEMENT AND COSTS
16                                                     RE: CIVIL INVESTIGATIVE
17                                                     DEMAND No. EDWA 21-002
18
19                   Declaration of Tyler H.L. Tornabene in Support of
20             the United States’ Petition for Summary Enforcement and Costs
                     Re: Civil Investigative Demand No. EDWA 21-002
21
22      I, Tyler H.L. Tornabene, declare as follows:
23        1.      I am an Assistant United States Attorney (AUSA) with the United States
24 Attorney’s Office for the Eastern District of Washington and counsel for the United
25 States in the above captioned matter. I have worked as an AUSA for over twelve years
26 and during that time have focused almost exclusively on criminal and civil fraud cases
27 including the investigation of suspected False Claims Act violations. I submit this
28 declaration in support of the United States’ Petition for Summary Enforcment and
     DECLARATION OF TORNABENE IN SUPPORT OF UNITED STATES’
     PETITION FOR SUMMARY ENFORCEMENT AND COSTS - 1
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 1 Costs Re: Civil Investigative Demand No. EDWA 21-002.
 2            2.     I am familiar with this case as one of the assigned AUSAs to the False
 3 Claims Act investigation of Respondent Rick Gray. The statements herein are based
 4 on my personal knowledge.
 5            3.     Attached hereto are true and accurate copies of the following:
 6                   - Exhibit 1: Civil Investigative Demand No. EDWA 21-0021;
 7                   - Exhibit 2: Transcript of sworn testimony of USDA OIG Special
 8                      Agent Jason Gonzalez dated March 17, 2021;
 9                   - Exhibit 3: Email chain between AUSAs and attorney Timothy J.
10                      Carlson: March 10, 2021, to March 29, 2021; and
11                   - Exhibit 4: The most recent written direction provided to Respondent
12                      Rick Gray pursuant to CID No. EDWA 21-002.
13
                      ISSUANCE AND SERVICE OF CID NO. EDWA 21-002
14
15            4.     On February 24, 2021, the United States Attorney for the Eastern District
16 of Washington issued CID No. EDWA 21-002 (herein also referred to as “the CID”)
17 to Respondent Rick Gray. The CID is attached hereto as Exhibit 1. The CID was
18 issued in connection with the False Claims Act investigation of Respondent Rick Gray
19 regarding allegations that he knowingly submitted and caused to be submitted false and
20 fraudulent claims and statements to the USDA Federal Crop Insurance Corporation
21 (FCIC).
22            5.     The CID was personally served on Respondent Rick Gray on March 10,
23 2021, by Special Agent Jason Gonzalez of the United States Department of Agricutlure
24 (USDA) Office of Inspector General (OIG). (See Exhibit 2).
25
26
     1
         This is a copy of the same CID that is also referenced as Exhibit 1 within the

27 transcript of sworn testimony of USDA OIG Special Agent Jason Gonzalez dated
28 March 17, 2021, which itself is attached hereto as Exhibit 2.
         DECLARATION OF TORNABENE IN SUPPORT OF UNITED STATES’
         PETITION FOR SUMMARY ENFORCEMENT AND COSTS - 2
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 1         6.    The CID required that Respondent Rick Gray “give oral testimony under
 2 oath, commencing seven (7) days from the date of receipt of this Demand, at 9:00
 3 a.m., at the United States Attorney’s Office for the Eastern District of Washington,
 4 920 W. Riverside Ave., Spokane, Washington 99201 . . . .” (Exhibit 1).
 5         7.    Based on the March 10, 2021, day of service, seven days from
 6 Respondent Rick Gray’s receipt of the CID was March 17, 2021.
 7         8.    When Special Agent Gonzalez personally served Respondent Rick Gray
 8 on March 10, 2021, he explicitly told Respondent Rick Gray that under the CID
 9 Respondent Rick Gray was required to appear in Spokane, Washington, as directed by
10 the CID, on March 17, 2021. (See Exhibit 2). At no time did Respondent Rick Gray
11 express any confusion as to the clear direction explicitly stated in the CID regarding
12 the date, time, and location of his oral testimony. (See Exhibit 2).
13         9.    Later that day, after Respondent Rick Gray was personally served with the
14 CID, counsel for the United States received an email from attorney Timothy J. Carlson
15 acknowledging that his client, Respondent Rick Gray, was served with the CID. (See
16 Exhibit 3).
17         10.   In subsequent email exchanges that same day, March 10, 2021, Mr.
18 Carlson requested to speak with counsel for the United States. (See Exhibit 3). Counsel
19 for the United States offered the afternoons of March 11th and 12th, or anytime on March
20 15th, as times to talk via phone with Mr. Carlson. (Id.). Counsel for the United States
21 also provided Mr. Carlson email contact information and cell phone contact
22 information to further facilitate making contact with counsel for Respondent Rick Gray
23 regarding the CID. (Id.). There does appear to have been any other attempt by
24 Respondent Rick Gray, counsel for Respondent Rick Gray, or anybody purporting to
25 act on behalf of Respondent Rick Gray, to contact the United States Attorney’s Office
26 for the Eastern District of Washington prior to 5:00 p.m. on March 17, 2021, although
27 Mr. Carlson did provide a response shortly after 5:00 p.m. that day. (Id.).
28         11.   In his email shortly after 5:00 p.m. on March 17, 2021, Mr. Carlson does
     DECLARATION OF TORNABENE IN SUPPORT OF UNITED STATES’
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      Case 1:21-cv-03048-TOR      ECF No. 1-1   filed 03/31/21   PageID.20 Page 4 of 33




 1 not express any confusion, either on his part or on Respondent Rick Gray’s part, as to
 2 when or where Respondent Rick Gray’s oral testimony pursuant to the CID was to have
 3 been. (See Exhibit 3).
 4        12.    At no time on or prior to March 17, 2021, did Respondent Rick Gray,
 5 counsel for Respondent Rick Gray, or anybody purporting to act on behalf of
 6 Respondent Rick Gray, request any alteration to the date, time, or location of
 7 Respondent Rick Gray’s oral testimony as required and directed pursuant to the CID.
 8 (See Exhibit 3).
 9        13.    At no time did Respondent Rick Gray, counsel for Respondent Rick Gray,
10 or anybody purporting to act on behalf of Respondent Rick Gray, object to the
11 enforceability of the CID or to the date, time, or location of Respondent Rick Gray’s
12 oral testimony as required and directed pursuant to the CID. (See Exhibit 3).
13
                            UNITED STATES’ INCURRED COSTS
14                         AND ADDITIONAL COMMUNICATIONS
15        14.    As a result of Respondent Rick Gray’s failure to appear as directed by the
16 CID to provide oral testimony under oath, and Respondent Rick Gray’s lack of any
17 notice that he would not appear as directed, the United States incurred a total of
18 $1,935.79 in costs, not including attorney costs, from the following sources in the
19 following amounts:
20               a. $161.28 for the travel of USDA OIG Special Agent Jason Gonzalez to
21                    and from the scheduled oral testimony of Respondent Rick Gray. This
22                    amount is based on Special Agent Gonzalez’s round trip mileage of
23                    288 miles in a government vehicle from Richland, Washington where
24                    he is based. This calculation uses the 2021 federal mileage rate of
25                    $0.56 per mile;
26               b. $1,603.51 for the travel of Special Investigator Michael “Chris”
27                    Treiber of the USDA Risk Management Agency to and from the
28                    scheduled oral testimony of Respondent Rick Gray. This amount is
     DECLARATION OF TORNABENE IN SUPPORT OF UNITED STATES’
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 1                   based on Special Investigator Treiber’s travel costs, including round
 2                   trip airfare from San Luis Obispo, California, as he is based in that
 3                   area; and
 4                c. $171.00 in court reporter costs from Snover Court Reporting.
 5        15.     By email dated March 17, 2021, I informed Respondent Rick Gray,
 6 through his counsel Mr. Carlson, that the United States would be seeking an order from
 7 the Court imposing on Respondent Rick Gray the costs that were incurred because of
 8 his failure to appear as directed by the CID. (See Exhibit 3). At that time I also
 9 informed Mr. Carlson, for Respondent Rick Gray, that the United States would seek a
10 court order compelling Respondent Rick Gray’s appearance to give oral testimony as
11 required by the CID. (See Exhibit 3).
12        16.     Mr. Carlson, for Respondent Rick Gray, responded that Respondent Rick
13 Gray could be available to provide oral testimony pursuant to the CID the week of
14 April 12, 2021, provided it was after April 12th. (See Exhibit 3). Mr. Carlson, for
15 Respondent Rick Gray, advised that Respondent Rick Gray was seeking different
16 counsel to represent him in this matter and that any scheduling issues for such new
17 counsel were unknown. (See Exhibit 3). Mr. Carlson, for Respondent Rick Gray,
18 further advised that he would be willing to accept service of the instant petition but did
19 not intend to enter a notice of appearance on behalf of Respondent Rick Gray in this
20 matter. (See Exhibit 3).
21        17.     Pursuant to the CID and in my capacity as assigned AUSA and a listed
22 False Claims Act investigator on the CID, I directed Respondent Rick Gray in writing
23 via email to Mr. Carlson, and what appears to be Respondent Rick Gray’s email, that
24 Respondent Rick Gray is to be present to provide oral testimony under oath on April
25 15, 2021, at 9:00 a.m. in Room 116 of the Thomas S. Foley U.S. Courthouse located
26 at 920 W. Riverside Ave., Spokane, Washington 99201. (Exhibit 4).
27 //
28 //
     DECLARATION OF TORNABENE IN SUPPORT OF UNITED STATES’
     PETITION FOR SUMMARY ENFORCEMENT AND COSTS - 5
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 1                GROUNDS FOR ENFORCING CID NO. EDWA 21-002
 2          18.   Respondent Rick Gray did not, and has not, moved to modify or set
 3 aside the CID.
 4          19.   The allegations of Respondent Rick Gray’s False Claims Act violations
 5 include multiple allegedly false or fraudulent crop insurance loss claims, resulting in
 6 indemnity checks received by Respondent Rick Gray totaling over one million dollars,
 7 submitted for crop years 2013 through 2016 to the Rural Community Insurance
 8 Company. The allegedly fraudulently obtained indemnity checks, totaling over one
 9 million dollars, was ultimately completely borne by the USDA through the FCIC.
10          20.   More specifically, the allegations of Respondent Rick Gray’s False
11 Claims Act violations include false overstatement of agricultural losses in support of
12 his crop insurance claims, as well as false, fraudulent, and material omission of sales
13 of crops required to be disclosed on annual reports.
14          21.   The CID, which is attached as Exhibit 1 hereto, calls for Respondent Rick
15 Gray to provide oral testimony under oath on a variety of specifically identified topics,
16 all of which are relevant and material to the investigation of the alleged False Claims
17 Act violations committed by Respondent Rick Gray. The specified topics essentially
18 fall into 4 categories: 1) Respondent Rick Gray, and his associated entities’, farming
19 operations from 2013 to the present; 2) Respondent Rick Gray, and his associated
20 entities’, knowledge of and participation in obtaining crop insurance and making crop
21 insurance loss claims from 2013 to the present; 3) Respondent Rick Gray, and his
22 associated entities’, use of various specified granaries from 2013 to the present; and 4)
23 Respondent Rick Gray, and his associated entities’, receipt of crop insurance indemnity
24 payments from 2013 to the present.
25          22.   The United States has not commenced any civil action brought under the
26 False Claims Act in connection with this investigation as it remains ongoing.
27 //
28 //
     DECLARATION OF TORNABENE IN SUPPORT OF UNITED STATES’
     PETITION FOR SUMMARY ENFORCEMENT AND COSTS - 6
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 1                           GROUNDS FOR IMPOSING COSTS
 2         23.   I am aware of no time prior to, or even on March 17, 2021, in which
 3 Respondent Rick Gray made any request to the United States Attorney’s Office for the
 4 Eastern District of Washington, the assigned case agent with USDA OIG, or anyone
 5 for the government associated with this investigation, for an alternate date, time, or
 6 location in which to provide oral testimony under oath pursuant to the CID.
 7         24.   At no time that I am aware of did Respondent Rick Gray make any
 8 objection to the United States Attorney’s Office for the Eastern District of Washington,
 9 the assigned case agent with USDA OIG, or anyone for the government associated with
10 this investigation, regarding the enforceability of the CID.
11         25.   At no time that I am aware of did Respondent Rick Gray inform the United
12 States Attorney’s Office for the Eastern District of Washington, the assigned case agent
13 with USDA OIG, or anyone for the government associated with this investigation, that
14 he would not be appearing to provide oral testimony under oath on March 17, 2021, as
15 directed by the CID.
16         26.   The travel costs for Special Agent Gonzalez were reasonable expenses.
17 Special Agent Gonzalez has experience in the investigation of fraud allegedly
18 perpetrated on the many different programs and components of the USDA, which
19 includes federal crop insurance.
20         27.   Special Agent Gonzalez is the lead case agent in this False Claims Act
21 Investigation and has been investigating this case since 2017. As a result, Special
22 Agent Gonzalez reviewed and analyzed the many documents he has collected from
23 third parties including: the USDA Risk Management Agency (RMA), which is
24 responsible for administering the Federal Crop Insurance Corporation (FCIC); the
25 Rural Community Insurance Company, the crop insurance company which paid
26 Respondent Rick Gray over one million dollars in federally back crop insurance
27 indemnity payments due to Respondent Rick Gray’s allegedly false crop insurance loss
28 claims; and records of Respondent Rick Gray’s relevant crop sales.
     DECLARATION OF TORNABENE IN SUPPORT OF UNITED STATES’
     PETITION FOR SUMMARY ENFORCEMENT AND COSTS - 7
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 1         28.   Special Agent Gonzalez has also conducted multiple interviews of
 2 witnesses, both within the federal government and outside the federal government, with
 3 information relevant to this investigation.
 4         29.   As a result of his experience in investigating crop insurance fraud
 5 allegations and his specific and detailed knowledge of the facts of the investigation of
 6 Respondent Rick Gray’s alleged crop insurance fraud, the travel costs of Special Agent
 7 Gonzalez to the scheduled oral testimony was reasonable and is a common expense
 8 incurred when taking oral testimony pursuant to a CID.
 9         30.   The travel costs for Special Investigator Michael “Chris” Treiber were
10 reasonable expenses. Special Investigator Treiber has worked for USDA RMA for 5
11 years and as a result has expertise in the administration of the FCIC, the process of
12 claims loss adjustment of federal crop insurance by federal crop insurers, and the
13 investigation of alleged crop insurance fraud. Special Investigator Treiber also has
14 experience with crop insurance loss claims for wheat, the crop at issue here. This
15 includes detailed knowledge of wheat farming practices in the Eastern District of
16 Washington.
17         31.   Further, Special Investigator Treiber interviewed Respondent Rick Gray
18 regarding his farming practices and other matters directly relevant to the
19 investigation.
20         32.   Special Investigator Treiber has been working directly with Special Agent
21 Gonzalez for 4 years investigating the allegations that Respondent Rick Gray
22 fraudulently obtained over one million dollars in crop insurance indemnity payments
23 between 2013 and 2016. This includes the review and analysis of the voluminous
24 documents obtained by USDA RMA and USDA OIG from the Rural Community
25 Insurance Company as well records of Respondent Rick Gray’s relevant crop sales.
26 This also includes participating with Special Agent Gonzalez in the interview of
27 multiple witnesses, both within the federal government and outside the federal
28 government, with information relevant to this investigation.
     DECLARATION OF TORNABENE IN SUPPORT OF UNITED STATES’
     PETITION FOR SUMMARY ENFORCEMENT AND COSTS - 8
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1        33.    As a result of his experience in the administration of the FCIC, the claims
2 loss adjustment process for crop insurance companies, wheat farming practices in the
3 Eastern District of Washington, as well as his experience investigating crop insurance
4 fraud allegations and his specific and detailed knowledge of the facts of the
5 investigation of Respondent Rick Gray’s alleged crop insurance fraud, the expense of
6 the travel of Special Investigator Treiber was reasonable for the United States to incur.
7 Further, it is not uncommon to have an additional investigator and/or subject matter
8 expert present at oral testimony pursuant to a CID.
9      I declare under penalty of perjury that the foregoing is true and correct.
10     Executed this 31st day of March, 2021, at Spokane, Washington.
11
12
13                                         ___________________________________
                                           Tyler H.L. Tornabene
14
                                           Assistant U.S. Attorney
15                                         Eastern District of Washington
16
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     DECLARATION OF TORNABENE IN SUPPORT OF UNITED STATES’
     PETITION FOR SUMMARY ENFORCEMENT AND COSTS - 9
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 1

 2

 3   IN RE:    RICK GRAY                         Civil Investigative
                                                 Demand EDWA 21-002
 4

 5

 6

 7     ______________________________________________________

 8        PROCEEDINGS RE SCHEDULED DEPOSITION OF RICK GRAY
                     Wednesday -- March 17, 2021
 9                          Pages 1 to 9
       ______________________________________________________
10
11

12
13
14                         Michael S. Kuplack, CCR

15                         SNOVER COURT REPORTING
16                  Professional Court Reporters

17                  708 N. Argonne Road, Suite 1B

18                Spokane Valley, Washington 99212

19                (509)467-0666          Fax (509)315-8375

20             E-mail:      www.snovercourtreporting.com

21                        LIC. NO. WA 2750 / ID 744

22

23

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                                                                                   2

 1         BE IT REMEMBERED that on the 17th day of March,
     2021, at the hour of 9:19 a.m., proceedings were had
 2   before Michael S. Kuplack, Notary Public, CCR No. 2750
     (WA) / CSR No. 744 (ID), at the United States
 3   Attorney's Office, 920 W. Riverside Avenue, Spokane,
     Washington.
 4

 5                            A P P E A R A N C E S

 6
            U.S. DEPARTMENT OF JUSTICE
 7          UNITED STATES ATTORNEY'S OFFICE
            By: Tyler H.L. Tornabene
 8               Dan Fruchter
            920 W. Riverside Avenue, Suite 340
 9          P.O. Box 1494
            Spokane, WA 99201
10          509.353.2767
            tyler.h.l.tornabene@usdoj.gov
11          daniel.fruchter@usdoj.gov

12
            USDA RISK MANAGEMENT AGENCY:
13          By: Chris Treiber

14
            USDA OFFICE OF INSPECTOR GENERAL:
15          By: Jason Gonzalez
16
17

18
19

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                                                                                          3

 1                                      I N D E X

 2
     WITNESS                                                                       PAGE
 3
     JASON GONZALEZ
 4
            By Mr. Tornabene                                                  5
 5

 6

 7
                                  E X H I B I T S
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     NUMBER                                                                        PAGE
 9
     1      Civil Investigative Demand-Oral Testimony                         4
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                                                                                     4

 1                MR. TORNABENE:         We are here this morning

 2   pursuant to Civil Investigative Demand EDWA 21-002,

 3   which is a CID, a civil investigative demand, that was

 4   served on Rick Gray.          Rick Gray is not present, nor is

 5   his attorney, and it is 9:20 a.m.                    I'd ask that the

 6   CID be marked as Exhibit Number 1.

 7                (Thereupon, Exhibit Number 1 was marked for

 8   identification.)

 9                MR. TORNABENE:         Present in the room here

10   today is myself, Assistant U.S. Attorney Tyler
11   Tornabene.     I'm joined by Assistant U.S. Attorney

12   Daniel Fruchter.         I'm also joined by Jason Gonzalez,
13   who is a special agent with the United States

14   Department of Agriculture, Office of Inspector

15   General; as well as Chris Treiber, who is a special
16   investigator with the USDA.

17                        Agent Gonzalez served the CID, Exhibit

18   Number 1, on Mr. Gray, and although he's not under

19   oath, we want to put on the record a few facts here.

20   Actually, let's just swear him in, if we could.

21

22                                JASON GONZALEZ,
23   called as a witness herein, having been first duly

24   sworn according to law, was examined and testified as

25   follows herein:

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                                                                                     5

 1                                      EXAMINATION

 2   BY MR. TORNABENE:

 3        Q.   Agent Gonzalez, you've seen Exhibit Number 1;

 4   is that correct?

 5        A.   Yes.

 6        Q.   And that's the CID in this case?

 7        A.   Correct.

 8        Q.   And did you serve that on a Mr. Rick Gray?

 9        A.   I did.

10        Q.   And when did you do that?
11        A.   That would have been March 10th.

12        Q.   So, a week ago today; is that right?
13        A.   Correct.

14        Q.   And describe for us the circumstances of how

15   and where you served Mr. Gray with the CID.
16        A.   So, we served it at his address in Prosser.                       I

17   can't remember the address off the top of my head, but

18   it was 21509 I think it's Drav- -- Dravhoff, in

19   Prosser, Washington.         Prior to serving it, I contacted

20   the Benton County Sheriff's Office and notified them

21   that I was going to be serving this at that address.

22         Myself and a fellow agent, Special Agent
23   Louis Stewart with USDA OIG, went to Mr. Gray's house,

24   knocked on the door.         Mr. Gray answered the door.                I

25   provided this to him, told him that he needed to be

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 1   here at the federal courthouse in Spokane the

 2   following Wednesday, which would be today, March 17th.

 3        Q.   And you've had contact with Rick Gray

 4   previously; is that right?

 5        A.   Yes.

 6        Q.   And so this was, in fact, Rick Gray?

 7        A.   Yes.

 8        Q.   Did Mr. Gray at that time make any statements

 9   to you?

10        A.   Not really.        I told him that our criminal
11   investigation was almost over, and he said he didn't

12   know what I was talking about.               Gave him this, told
13   him to be up here the following week and if he had any

14   questions, to have his attorney contact the U.S.

15   Attorney's Office.         And he said okay, took the folder
16   with this inside of it and went back into his house.

17        Q.   And so at no time did Mr. Gray express any

18   confusion as to the date or location of the CID

19   deposition?

20        A.   No.

21        Q.   All right.       Thank you, Agent Gonzalez.              Oh,

22   one final question.          Did you have an opportunity to
23   check with the court security officers today to see if

24   Mr. Gray or his attorney had come to the federal

25   building today?

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                                                                                    7

 1        A.   Yeah.      I don't know what his attorney looks

 2   like, but I described Mr. Gray and asked them if

 3   anyone matching his description had come into the

 4   courthouse, and they said no one matching that

 5   description had entered.

 6                MR. TORNABENE:        Thank you, Agent.

 7                   Additionally, on the record, we want to

 8   put on the details of Tim Carlson.                   That is the

 9   attorney who represents Mr. Gray.                   He had an e-mail

10   exchange with myself and AUSA Fruchter on March 10th.
11   In that e-mail exchange, he represented that he did in

12   fact represent Mr. Gray.           He attempted to arrange a
13   time to speak with myself and AUSA Fruchter.

14   Potential times to talk were exchanged.                    Mr. Carlson

15   was not available for certain times.                   Mr. Fruchter
16   provided quite a number of options on different days,

17   on March 11th, March 12th, as well as March 15th,

18   where he or myself would be available to speak with

19   Mr. Carlson, and Mr. Fruchter also provided his cell

20   phone number to Mr. Carlson.

21                   At no time did Mr. Carlson, in that

22   e-mail exchange or otherwise, request any change of
23   schedule for the deposition, nor question where it was

24   to happen or when it was to happen.                   And we've had no

25   further contact with Mr. Carlson since that e-mail

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 1   exchange.     There have been no phone calls placed.                    He

 2   has not reached out to us in any way other than that.

 3                  (Discussion off the record between Messrs.

 4   Tornabene and Fruchter.)

 5                MR. TORNABENE:         And Mr. Fruchter has

 6   reminded me that, in that e-mail exchange, Mr. Carlson

 7   acknowledged that he had received the CID and was

 8   aware of it.

 9                        All right.     I think that's all we have on

10   the record.     Thank you.
11                (9:26 a.m.)

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                           5:6                   Dravhoff (1)                4:4,4,18;5:8,15,24;    matching (2)
            A           cell (1)                   5:18                      6:3,6,8,17,24;7:2,9,12    7:3,4
                           7:19                  duly (1)                 Gray's (1)                Messrs (1)
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   4:24                    7:15                                                                     morning (1)
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             Case 1:21-cv-03048-TOR                           ECF No. 1-1              filed 03/31/21              PageID.49 Page 33 of 33




From:                         Tornabene, Tyler H.L. (USAWAE)
Sent:                         Wednesday, March 31, 2021 11:18 AM
To:                           Tim Carlson
Cc:                           Rick Gray; Fruchter, Daniel (USAWAE); Hoffman, Hilary (USAWAE) [Contractor]
Subject:                      CID No. EDWA 21-002: Direction to Appear on April 15th at 9:00


Tim,

Along the lines we discussed on Monday, this is our written direction to you and Mr. Gray that pursuant to Civil
Investigative Demand No. EDWA 21‐002 that Mr. Gray is to personally appear on April 15th, 2021, at 9:00 am at the
Thomas S. Foley U.S. Courthouse, 920 W. Riverside Ave., Spokane, WA 99201, Room 116, to give oral testimony under
oath. Room 116 is on the first floor and is commonly referred to as the GSA 1st Floor Conference Room. It is on the east
side of the building and if necessary the Court Security Officers at the entrance to the building should be able to direct
Mr. Gray, and whichever attorney accompanies him, to the conference room. Please be advised that to gain entry to the
building Mr. Gray and any counsel who accompanies him will need to have valid government issued identification with
them and will need to wear face masks and comply with all other COVID‐19 safety requirements while on federal
property.

Thank you,
Tyler

                                Tyler H.L. Tornabene
                                Assistant U.S. Attorney
                                United States Attorney’s Office
                                Eastern District of Washington
                                920 West Riverside Avenue | Suite 340
                                P.O. Box 1494 | Spokane WA 99201



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